
USCA1 Opinion

	










          April 12, 1996
                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 95-2232

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                   JOHN J. CONWAY,

                                Defendant, Appellant.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE

                 [Hon. Joseph A. DiClerico, Jr., U.S. District Judge]
                                                 ___________________

                                 ____________________

                                        Before

                                 Selya, Circuit Judge,
                                        _____________

                            Aldrich, Senior Circuit Judge,
                                     ____________________

                              and Lynch, Circuit Judge.
                                         _____________

                                 ____________________


            Barry T. Albin with whom Peter  A. Gaudioso and Wilentz, Goldman &amp;
            ______________           __________________     __________________
        Spitzer were on brief for appellant.
        _______
            Peter E. Papps,  Assistant United States Attorney, orally;  Donald
            ______________                                              ______
        A.  Feith, Assistant United States Attorney, with whom Paul M. Gagnon,
        _________                                              ______________
        United  States Attorney,  and  Michael J.  Connolly, Assistant  United
        _______________________        ____________________
        States Attorney, were on brief for appellee.

                                 ____________________

                                    April 11, 1996
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                      ALDRICH, Senior Circuit Judge.  John J. Conway pled
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            guilty to  one count  of conspiracy to  defraud the  American

            Honda Motor Company  in violation  of 18 U.S.C.     1343  and

            1346.  He now appeals his sentence, specifically the  court's

            refusal  to grant the government's motion on his behalf for a

            four  level downward  departure  for substantial  assistance.

            U.S.S.G. 5K1.1.  Normally an appeal is not available for such

            a broadly discretionary  decision, United States v.  Mariano,
                                               _____________     _______

            983  F.2d  1150, 1153-54  (1st Cir.  1993),  but there  is an

            exception in case of an error of law.  Id. at 1153; 18 U.S.C.
                                                   ___

              3742.1  This is  such a case.  Defendant makes  a colorable

            claim  that his Fifth Amendment rights to due process and not

            to be made a  witness against himself were violated  when the

            court based its  decision to deny downward  departure, and to

            give  the  maximum sentence  under  the  applicable guideline

            range,  on self-incriminating  information  he  had  divulged

            pursuant to a plea agreement  to provide the government  with

            substantial assistance in exchange  for immunity and a motion

            for downward departure.2   Noting the standard provision that

            it was  not bound to accept  the government's recommendation,

            Mariano, 983  F.2d at  1155, the  court, while  admitting the
            _______

                                
            ____________________

            1.  Appellate jurisdiction exists  for sentences "imposed  in
            violation  of  law."   18 U.S.C.     3742(a)(1).   See United
                                                               ___ ______
            States v. Drown, 942 F.2d 55, 58 and n.6 (1st Cir. 1991).
            ______    _____

            2.  The possibility  that in  its discretion the  court might
            have reached the same result absent any error does not defeat
            jurisdiction.  See Drown, 942 F.2d at 60.
                           ___ _____

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            sufficiency  of  defendant's   disclosures  to  warrant   the

            departure, denied  it on the ground that it would lead to too

            light  a sentence  for a  defendant so  revealed.   Defendant

            objects  that the effective "countervailing factors" found by

            the court to "militate against granting a motion for downward

            departure" came to the court's attention solely by  reason of

            disclosures he had  provided in exchange  for a promise  that

            they would not be  used against him.   We concur, and  remand

            for resentencing.

                      The plea agreement read as follows:

                      No truthful information  provided by  Mr.
                      Conway  to  government  attorneys or  law
                      enforcement  officers,  pursuant to  this
                      agreement, or any information directly or
                      indirectly derived from such information,
                      will be  used against Mr.  Conway by  the
                      government   provided  that   Mr.  Conway
                      complies   with   the   terms   of   this
                      agreement.  As to information provided by
                      Mr. Conway  regarding unlawful activities
                      involving himself and others that was not
                      known to the government prior to entering
                      into  this  agreement,  such  information
                      shall  not be  used  in  determining  the
                      applicable  guideline range,  pursuant to
                      U.S.S.G.   1B1.8.

                      It is clear, first of all, that the  plea agreement

            does  not  bind   the  court  "to  comply  blindly  with  the

            prosecutor's wishes,"  Mariano, 983  F.2d at 1155,  and that,
                                   _______

            except  as   restricted  by  the  Guidelines,  other  federal

            statutes,  or  the  United  States  Constitution,  the  court

            "retains  broad discretion  to  exhume  factors unrelated  to

            substantial   assistance   before   burying  the   [guideline


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            sentencing range]."  Id. at 1156-57.  We also  agree that the
                                 ___

            language   of  the  agreement,   as  written,   deserves  the

            interpretation the court  gave it at the  time of sentencing:

            defendant  received  a  promise  that,  (1)  the  information

            disclosed  would not be used against him by the government --
                                                     _________________

            e.g., as a basis for future prosecution, for refusing to make

            a motion for  downward departure, or for any other government

            action  against  him --  and, (2)  it  would not  be  used in

            calculating  his guideline range -- no more.  As written, the

            agreement does not preserve the blanket protection  defendant

            claims he bargained for  in exchange for waiver of  his Fifth

            Amendment right not  to be  a witness against  himself.   See
                                                                      ___

            United States v.  Hogan, 862  F.2d 386, 388  (1st Cir.  1988)
            _____________     _____

            (plea agreements are to  be interpreted according to contract

            law principles).   So  interpreted, defendant cannot  state a

            claim that his rights were violated.

                      There was,  however, a difficulty,  provided by the

            court itself.  At the hearing at which the court undertook to

            determine,  in lengthy  converse with  defendant,  whether he

            understood the consequences of entering the agreement and the

            plea,  see F.R.Crim.P.  11(c), the  court did  not quote  the
                   ___

            agreement  fully.     After  explaining   to  defendant   his

            obligation  under  the  agreement  to  make   full,  truthful

            disclosure,  and the  consequences  of failing  to do  so, it

            stated, "Now,  any truthful information that  you provide the



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            government during the course of your  cooperation will not be

            used against you."   The original limitation, to  non-use "by

            the government," was omitted.  In all fairness, was defendant

            supposed  to  remember it?   The  whole  purpose of  the plea

            hearing  is to  assure full  understanding.   The objectively

            reasonable understanding in defendant's  ears when he signed,

            see  Hogan, 862  F.2d at  388,  was that  he was  assuming an
            ___  _____

            obligation  to speak in  exchange for, among  other things, a

            grant  of full use immunity for whatever he disclosed.  True,

            the court went on to quote the agreement's provision that the

            information "will  not be used in  determining the applicable

            guideline range,"  which we  observe would be  superfluous if

            the  prior  statement  is   interpreted  to  grant  full  use

            immunity.   The implication, and the  principle inclusio unis
                                                            ________ ____

            exclusio  alterius est  are  rules of  construction known  to
            ________  ________ ___

            lawyers, but a defendant surely cannot be expected to apply a

            lawyer's   analytical   tools   in   a   colloquy   conducted

            specifically  to  assure  his  lay  understanding.    We  are

            particularly  loathe to  do so  when the  effect would  be to

            contradict  apparent  absoluteness.   At  best,  the  court's

            second statement created an ambiguity that we must resolve in

            favor of defendant's reasonable understanding.

                      The case comes down to this.  A plea agreement is a

            contract   under  which   both   parties  give   and  receive

            consideration.   The government obtains a  conviction that it



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            otherwise might not  have.   The defendant,  correspondingly,

            receives less, or a  chance at less, than he  otherwise might

            have.  In this case the government received something more --

            tangible disclosures concededly of substantial value in light

            of the return offered defendant (non-use of the information),

            which was promised  not merely as hope,  but as firm.   Under

            F.R.Crim.P.  11(e)(3) and (4) the  court may accept or reject

            the agreement.  Here the court expressly  defined in absolute

            terms  the  benefit  defendant  should  expect.    Under  the

            agreement the court could have denied the government's motion

            for  a downward departure, but it cannot be thought it should

            do so by relying  on the very disclosures that  defendant was

            bargained  to  make  on   an  immunization  promise.    While

            doubtless the court did  not recall this record inadvertency,

            surely  due process, not to mention  public perception of the

            courts, should forbid such a result.3

                      This  brings us to the  remand itself.   It will be

            open to the court, after vacating the present sentence, again

            to address the issue  of a downward departure.  In this case,

            however,  the  court  should  not  change  the  finding  that

            defendant   had  rendered   substantial  assistance   to  the

            government, and if  it is to  be rebutted it  must be on  new



                                
            ____________________

            3.  To the extent that U.S.S.G.   1B1.8(b)(5) and application
            note   1  appear   to   the  contrary,   the   constitutional
            prerogatives in this case must prevail.

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            findings, which  we suggest should be  stated, independent of

            defendant's disclosures.

















































                                         -7-















                      We  vacate  defendant's  sentence  and  remand  for

            resentencing.

                             -Concurring opinion follows-
                             -Concurring opinion follows-















































                                         -8-















                      SELYA, Circuit Judge (concurring).  While I have no
                      SELYA, Circuit Judge (concurring).
                             _____________

            doubt  that  the defendant  in  this  case  has been  treated

            fairly, I  agree with my  colleagues that the  combination of

            the district  judge's unfortunate  slip of the  tongue during

            the change-of-plea  hearing and his frank  use of information

            elicited  from the  defendant during  debriefing to  impose a

            sentence  at  the  top  of  the  guideline  range  creates  a

            perception  of  unfairness  and  requires   vacation  of  the

            sentence.   I  write separately,  however, to  highlight four

            points.

                      First, this is not a case in which the court coaxed

            a  plea  through  a  misrepresentation.   Mr.  Conway  is  an

            intelligent,  well-educated  businessman who  was represented

            throughout by distinguished counsel.   Insofar as I can tell,

            he was not actually misled and the judge's lapsus linguae had
                                                       ______ _______

            no  actual   effect  on  the  course   of  the  proceedings.4

            Nevertheless, I cannot vote to uphold the sentence.  When the

            public  perception of  justice is  imperilled by  the court's

            actions in a criminal case, the usual rules of harmless error

            do not apply.




                                
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            4.  This conclusion is underscored,  if not compelled, by the
            late  blossoming  of  any   argument  based  on  the  court's
            misstatement at the change-of-plea hearing.   The defendant's
            brief on appeal is devoid of developed argumentation  in this
            regard, and the judge's statement was first mentioned at oral
            argument in this court (and then, only in passing).

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                      Second, it is important to emphasize that this case

            is sui generis.  Under ordinary circumstances, the guidelines
               ___ _______

            permit  information  obtained  from a  cooperating  defendant

            during debriefing  to be used in  determining the defendant's

            sentence (as long  as the  plea agreement does  not impose  a

            further limitation on these uses).  See U.S.S.G.  1B1.8(b)(5)
                                                ___

            &amp; n.1.

                      Third, the plea agreement in this case, interpreted

            under principles of contract law, see United States v. Hogan,
                                              ___ _____________    _____

            862  F.2d 386, 388 (1st  Cir. 1988), imposed  no such special

            limitation.    Were  it   not  for  the  judge's  inadvertent

            misstatement  during the  change-of-plea colloquy,  the court

            could have  used the  information obtained  during debriefing

            either  to  deny  the  downward  departure,  or  to  fix  the

            defendant's sentence within  the appropriate guideline range,

            or for both purposes.

                      Fourth,  under the plea  agreement, the guidelines,

            and binding precedent in  this circuit, see United States  v.
                                                    ___ _____________

            Mariano, 983 F.2d  1150, 1157 (1st  Cir. 1993), the  district
            _______

            court was obliged fully  to consider the elicited information

            in  determining whether  to  grant  the government's  section

            5K1.1  motion for  a  downward  departure.   On  remand,  the

            district  court   remains   obliged  to   consider  all   the

            information.  And, moreover, even if the court finds that the

            defendant substantially assisted the investigation, it is not



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            obligated  to  grant  the  section 5K1.1  motion  and  depart

            downward,   see   Mariano,   983   F.2d   at   1156-57,   or,
                        ___   _______

            alternatively,  to impose  a sentence  at the  bottom of  the

            guideline range.

                      Despite the court's substantial discretion in these

            respects,  I agree  with my  colleagues that  resentencing is

            required.   When, as now, a sentencing court makes clear that

            a discretionary action   even a discretionary action that the

            court  has  no  legal obligation  to  explain  at  all5    is

            premised  on an  impermissible  consideration, the  court  of

            appeals must intervene.  See United States v. Drown, 942 F.2d
                                     ___ _____________    _____

            55, 60  (1st Cir. 1991).   To this  extent, the judge  pays a

            high price for candor   but justice demands the exaction.













                                
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            5.  A good example, apropos here, is that, subject to certain
            exceptions  not  relevant  in  the circumstances  at  bar,  a
            sentencing court  has no legal  obligation to explain  why it
            chooses  a  particular  sentence within  a  narrowly  defined
            guideline  sentencing range.    See, e.g.,  United States  v.
                                            ___  ____   _____________
            Levinson,  56 F.3d 780, 780 (7th Cir. 1995); United States v.
            ________                                     _____________
            Garrido, 38 F.3d 981,  986 (8th Cir. 1994); United  States v.
            _______                                     ______________
            Lively,  20 F.3d 193, 198 (6th Cir.  1994).  By like token, a
            ______
            sentencing court  customarily need not explain  the basis for
            its  refusal to depart downward.  See, e.g., United States v.
                                              ___  ____  _____________
            Lombardi, 5 F.3d 568, 572 (1st Cir. 1993).
            ________

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